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UNITED STATES BANKRUPTCY COURT
FOR THE

WESTERN DISTRICT OF KENTUCKY

IN RE: Chapter 7

Brigid Robine, CASE NO. 20-50271

Debtor(s).
AMENDMENT TO SCHEDULES

CHECK THE APPLICABLE BOXES BELOW:

Amendment to Petition:
Name CL] Address 0) Alias O) Social Security Number
Statement of Financial Affairs
Statement of Intention
=. Schedule A/B
_t&— Schedule C
Schedule D or UO Schedule E/F
Add/Delete creditors or change amount or classification of debt - Fee Required,
or
Change address of a creditor listed on the schedules — No Fee Required
Schedule G
Schedule H
Schedule I
Schedule J
Other Document Included with Schedules, e.g., Disclosure of Compensation
of Attorney

Additional Details of Amendment (attach separate page if needed):
Schedule ¢ - Property Claimed as Exempt
ADDED

Interest in 104 Pine Terrace, Milford, PA 11 USC 522(d)(5)....... 00000 cece ceeceee 8,150.00

AFFIRMATION OF DEBTOR(S): I declare under penalty of perjury that I have read this document
and any attached schedules or documents, and that they are true and correct to the best of my knowledge,

information and belief. S
Lit
/s Brigid Robine |

BRIGID ROBINE &
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CERTIFICATE OF SERVICE AND NOTICE OF AMENDMENT TO SCHEDULES
INSTRUCTIONS:

Debtor or debtor’s attorney should complete and file the certificate of service with a complete list
of all parties and creditors served.

Debtor or debtor’s attorney must serve the amendment on all affected parties and creditors, e.g.,
any added or modified creditors, the trustee, and/or other parties listed on or affected by the
amendment. Parties who receive electronic service such as the trustee and U.S. Trustee should be
listed on the certificate of service but it is not necessary to serve a copy by mail on these parties.
Any added creditor or creditor for whom a new address is being filed must be sent a copy of the
Notice of Bankruptcy Case (Official Form 309 — All Chapters) and a copy of the Chapter 13 Plan
(Chapter 13 Cases).

For changes to the names, aliases or Social Security Number of the debtor(s), a certificate of
service and service by the debtor/debtor’s attorney on all parties and creditors in the case is
required.

CERTIFICATE OF SERVICE
[ hereby certify that on =/ zZY¥. [> /_,acopy of the attached Amendment to Schedules
and, if required, a copy of Official Form 309 — Notice of Bankruptcy Case and the Chapter 13
Plan was served upon the following by first class mail:
N/A
and electronically on:
John L. Daugherty - Ass’t U.S. Trustee

and

Mark Little - Chapter 7 Trustee

Steve Vidyfer
